       Case 1:07-cr-00130-SM       Document 53        Filed 12/18/07   Page 1 of 2




                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                  Case No. 07-cr-130-04-SM

Jay Lawrence


                                      ORDER



      Defendant Lawrence's assented-to motion to continue the trial (document no. 52)

is granted. Trial has been rescheduled for the February 2008 trial period. Defendant

shall file a Waiver of Speedy Trial Rights not later than January 3, 2008. On the filing

of the waivers, his continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account
       Case 1:07-cr-00130-SM      Document 53     Filed 12/18/07   Page 2 of 2




the exercise of due diligence under the circumstances.

      Final Pretrial Conference: January 31, 2008 at 4:30 PM

      Jury Selection:            February 5, 2008 at 9:30 AM

      SO ORDERED.



December 18, 2007                      _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Terry Ollila, Esq.
    Liam D. Scully, Esq.
    Mark Sisti, Esq.
    Paul Garrity, Esq.
    Sven Wiberg, Esq.
    U. S. Probation
    U. S. Marshal




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